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                            Exhibit Cover




           EXHIBIT F
Designation of Certifying Official(s)
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